       Case 2:12-cr-20007-PKH                      Document 128                 Filed 08/26/15               Page 1 of 1 PageID #: 628
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(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


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                                              (Complete Parts I and II of Page 2 when motion is granted)




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